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AO 106 (Rev 04/10) Applicauon for a Search Warrant (requesung AUSARobert E F.ckert)



                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District of Pennsylvania

                 In the Matter of the Search of                          )

                                                                         ~
         (Brtejly describe the property to be searched
          or identify the person by name and address)                                 Case No.
   SAMSUNG GALAXY NOTE 9, IMEI 356568090054491,
     SAMSUNG GALAXY S8, IMEI 355987080841710;
     SAMSUNG GALAXY S9, IMEi 354824090452520
                                                                         ~
                                                                         )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or descnbe the
property to be searched and give its locatwn)
 See Attachment A

located in the                Eastern            District of       __P_e_nn_sy_l_v_an_i_a_ _ _ , there is now concealed (identify the
person or describe the property to be seized):
   See Attachment B


          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               ef evidence of a crime;
               (1 contraband, fruits of crime, or other items illegally possessed;
                   (1   property designed for use, intended for use, or used in comrnittmg a crime;
                   (1   a person to be arrested or a person who is unlawfully restramed.
          The search is related to a violation of:
             Code Section                                                             Offense Description
           21USC.846                         Conspiracy to distribute herom, Possession with intent to distribute controlled
           21 USC 841(a)(l)                  substances, Possession of a firearm m furtherance of a drug traffickmg crune
           18 USC 924(c)
         The application is based on these facts:
        See attached affidavit

          ./'J
             Continued on the attached sheet.
           0 Delayed notice of __ days (give exact ending date if more than 30 days:                              __ ... ) 1s requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                         ______. .di'-'-',1!~/.b:
                                                                                           Special Agent Anthony Ilardi, FBI


Sworn to before me and signed in my presence.




City and state: Philadelphia, PA _
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTER.l\J DISTRICT OF PENNSYLVANIA
 IN THE MATTER OF THE SEARCH OF
 SAMSL,'NG GALAXY NOTE 9,
 INTERNATIONAL MOBILE EQUIPME~T
 IDENTITY (IMEi) 356568090054491;
 SAMSUNG GALAXY S8, IMEi
 355987080841710; SAMSUNG GALAXY                             ['f~--L~Z,-~~---M_ _
                                                  Case No. _ _
 S9, IMEi 354824090452520; CURRE~TLY
 LOCATED AT FEDERAL BURUEAC' OF
 INVESTIGATION, PHILADELPHIA
 DIVISIO:'.\, EVIDENCE CO:'.'-rTROL ROOM



                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE

       I, Anthony J. Ilardi, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property-

electronic devices-which are currently in law enforcement possession, and the extraction from

those properties of electronically stored information described in Attachment B.

       2.      I am a Special Agent with the Federal Bureau oflnvestigation (FBI), and have

been since May 2008. As such, I am a "federal law enforcement officer" within the meaning of

Federal Rule of Criminal Procedure 4l(a)(2)(C), that is, a government agent engaged in

enforcing the criminal laws and duly authorized by the Attorney General to request a search

warrant. As part of my duties with the FBI, I investigate violations of federal criminal law over

which the FBI has junsdiction, including violent crimes, gangs, drug trafficking organizations

and other violent crimi~al elements. Over the course of these investigations, I have interviewed

witnesses, conducted physical surveillance, monitored the use of human sources, made
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consensually monitored recordings, and utilized other investigative techniques. I have

participated in searches authorized by consent, search warrants, and other legal grounds, for

residences, businesses, cellular phones, and vehicles for the purpose of obtaining evidence.

have applied for and received search and seizure warrants.

        3.      As part of my duties as an FBI Special Agent, I investigate how Drug Trafficking

Organizations ("DTO") transport controlled substances and drug trafficking instrumentalities, in

violation of Title 21, United States Code, Sections 841(a)(l), 843(b), and 846. I have been

trained in various aspects of law enforcement, including the investigation of narcotics offenses.

        4.      Based on my training, knowledge and experience, as well as the training,

experience and knowledge of other officers and agents, I have learned the following in

connection with investigating those invotved in illegal trafficking of controlled substances and

detection of dealing in proceeds of unlawful activity: Individuals involved in illegal activity and

drug dealing commonly maintain addresses or telephone numbers in books or papers or in

cellular telephones which reflect names, addresses and/or telephone numbers of their associates

in the illegal organization and/or individuals involved in their narcotics and money laundering

activities; individuals involved in narcotics trafficking frequently list drug associates on cellular

phone directories, often by nickname or code, to avoid detection by law enforcement and other

individuals who would able to identify them; and a review of a telephone's directory is one of the

few ways to verify the numbers (that is, the cellular phones, pagers, etc.) being used by specific

targets, conspirators, and associates; individuals involved in narcotics trafficking often utilize

multiple cellular phones to attempt to conceal their identity, avoid detection by law enforcement

and to facilitate their drug trafficking activities. I also know that drug traffickers frequently use

cellular telephone functions, such as text-messaging, email and voice communications, to



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communicate with other co-conspirators, buyers and suppliers in furtherance of their drug

trafficking activities. Often, drug traffickers use multiple cellphones for their drug trafficking, in

an effort to conceal their phone contact numbers and illegal activities from law enforcement and

other individuals.

        5.     The information contained in this affidavit is based upon my personal

observations and investigation, information relayed to me by other special agents and/or other

law enforcement agents, as well as official reports of law enforcement. Because this affidavit is

being submitted for the limited purpose of securing authorization to search cellular telephones, I

have not included every fact to me concerned this investigation.

        6.     This affidavit requests the search of the property listed in Attachment A and the

extraction from that property of electronically stored information as described in Attachment B.

                IDENTIFICATION OF THE DEVICES TO BE EXAMISED

        7.     The properties to be searched are a SAMSUNG GALAXY NOTE 9,

INTERNATIONAL MOBILE EQUIPMENT IDENTITY (IMEi) 356568090054491;

SAMSUNG GALAXY S8, IMEi 355987080841710; SAMSUNG GALAXY S9, IMEi

354824090452520, hereinafter the "Devices." The Devices are currently located at the Federal

Bureau of Investigation, Philadelphia Division, Evidence Control Room.

        8.     The applied-for warrant would authorize the forensic examination of the Devices

for the purpose of identifying electronically stored data particularly described in Attachment B.

        9.     As set forth below, there is probable cause to believe that the Devices contain

evidence, fruits, and instrumentalities of crimes against the United States occurring in this

judicial district, specifically, violations ofTitle 21, Cnited States Code, Section 84l(a)(l),

(distribution and possession with the intent to distribute controlled substances), and Title I 8



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United States Code, Section 2, (aiding and abetting the possession of a controlled substance with

the intent to distribute).

                                             PROBABLE CAUSE

             1.            A partial list of the individuals involved in what will be referred to as the

     NEGRIN Drug Trafficking Organization or OTO are as follows:

                      •    ROBERTO DEJESUS NEGRIN 1 supplies the heroin to the NEGRIN OTO

                          and is believed to arrange for the transportation of the heroin from New York

                          to Philadelphia;

                      •    STALIN DEJESUS MARTE2 is believed to be involved in the preparation

                          of the bulk heroin for street sales as well as arranging for the transport of

                          kilogram quantities of heroin from New York to Philadelphia;

                      ~    FRANCISCO CRUZ-MARTE is believed to be involved in the preparation

                          of the bulk heroin for street sales;

                      •    NOEL DE AZA ARIAS is believed to be involved in preparation of the bulk

                          heroin for street sales; and

                      •    CHRISTIAN DE AZA ARIAS is believed to be involved in preparation of

                          the bulk heroin for street sales.

The locations in Philadelphia involved in the NEGRIN OTO are as follows:

                  •       1339 Robbins Street, Philadelphia, PA 19111 -· this location is believed to be

                          where the bulk heroin is prepared for street sales;




1
 NEGRIN was indicted by a federal grand jury on December 13, 2018.
2Stalin DeJesus MARTE, Francisco Cruz MARTE, and Noel De Aza ARIAS were indicted by a federal grand jury
on January JO, 2019. Christian De Aza ARIAS has not been charged.

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               •   3934 and 3936 K Street, Philadelphia, PA 19134 - these locations are believed

                   to be stash houses where kilograms of heroin come in from New York and are

                   stored until they are transported up to Robbins Street.

The above individuals and locations are referenced in the paragraphs that follow.

       2.      On October 30, 2018, the Honorable Gerald A. McHugh, United States District

Judge for the Eastern District of Pennsylvania, issued an Order authorizing the interception for

thirty days of wire and electronic communications over the NEGR.P.-,l's phone.

       3.      On November I 0, 2018, at approximately 2:58 p.m., agents intercepted an outgoing

call from NEGRIN's phone, to 646-719-3072, utilized by MARTE. 3 The following is an excerpt

of the conversation:

       MARTE:                         [UI]

       NEGRIN:                        Hello.

       MARTE:                         Talk to me.

       NEGRIN:                        And that number that you called me from?

       MARTE:                         What?

       N'EGRIN:                       Just now, the number from which you called me, whose
                                      number is that?

       MARTE:                         It's the one I use to talk to my ladies.

       NEGRIN:                        Okay. Yeah. What was I going to say to you? What was it I
                                      wanted to say? Did you talk with the kid?

       MARTE:                         No, I'm going to stop by here. Because he lives, I'm nearby
                                      his house.



3
        All of the transcribed calls included in this affidavit were entirely in Spanish. An FBI
linguist monitored the call and provided a written summary of the call. After your affiant
assessed the contents of the calls and determined that they were pertinent to the investigation, an
FBI Spanish linguist completed a verbatim transcription of the call.
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       NEGRIN:                      Okay. You reach an agreement, because you do what you
                                    have to do. You know? Because later if you say "No,
                                    tomorrow", then something comes up, and if you say
                                    ..Today", and something comes up and then it doesn't get
                                    done. You understand?

       MARTE:                       And how many, how many women are there?

       NEGRIN:                      I don't know.

       MARTE:                       Because he said, he'd go to ask how many women you were
                                    going to want.

       NEGRIN:                      Well, he didn't call me or anything. What he told me was
                                    that he was going to see how many he could get for me.

       MARTE:                       Oh ...

       NEGRIN:                      But if its good, I don't care, he can get me whatever, what
                                    do you say?

       MARTE:                       Uh, yeah but ifhe, ifhe gets you at least two or three, at least
                                    until his get here, you know his are cheaper.

       NEGRIN:                      Yeah. [Phone ringing] Of course.

       MARTE:                       That's all.

       ~EGRI;\J":                   Yeah, that's all, you call me once you talk with him.

       MARTE:                       Sure, will do.

       Based on my training and experience, and knowledge of this investigation, I believe that

in the above intercepted call, NEGRIN calls MARTE to discuss NEGRIN receiving a re-supply of

heroin from an individual known as ..Shorty." MARTE asks NEGRIN how many "women" he will

get from "Shorty". Your affiant knows that ..women" is used in this instance as a code for

kilograms of heroin. NEGRIN replies that he doesn't care how many kilograms of heroin he gets

from "Shorty;" he just wants to make sure the quality is good. MARTE suggests that NEGRIN




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take "at least two or three" for now because Shorty's regular shipment of heroin is on the way and

his kilograms of heroin are cheaper. ~EGRIN agrees.

       4.       On    ~ ovember   11, 2018, at approximately 11 :37 a.m., agents intercepted an

outgoing call from NEGRI:'.'-J's phone, to 646-719-3072, utilized by MARTE. The following is an

excerpt of the conversation:

       NEGR.r.\i:                      Who was that, [GI]?

       MARTE:                          Talk to me, mad man.

       NEGRIN:                         What's going on, mad man?

       MARTE:                          We're just leaving.

       ~EGRIN:                         But have you crossed the bridge yet?

       MARTE:                          No, he must have crossed it because he'd already been

                                       driving

       NEGRIN:                        · Did he leave a long while ago?

       MARTE:                          About, about fifteen, fifteen or twelve ago.

       :'.'-JEGRIN:                    Oh, okay. What was I going to say? With two passengers,
                                       right?

       MARTE:                          He, he said he was going to go with three.

       NEGRIN:                         With three?

       MARTE:                          Uh-huh.

       NEGRIN:                         And did Shorty check it over there?

       MARTE:                          [Cl] And I told you that there was one that was like, like it
                                       was a little, a little darker?

       NEGRIN:                         Uh-huh.

       MARTE:                          That's why there are two.



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       NEGRIN:                       Alright. No, that's fine then. ~o, I didn't check it.

        MARTE:                       Check it, because there are two that are the same, identical.
                                     There's one that is a little darker.

       NEGRIN:                       Oh, because the two, the two that I checked first were the
                                     ones that were the same. So check, check those today, and
                                     see.

        Based on my training and experience, and knowledge of this investigation, I believe that

during the above intercepted call, MARTE is on his way down to Philadelphia from New York to

facilitate the delivery of heroin to NEGRIN. Based on the conversation and subsequent

surveillance conducted by members of the FBI, MARTE drove separately from the individual(s)

who brought the heroin down from New York. MARTE tells NEGRIN that the courier has three

passengers with him. Your affiant believes that MARTE is using "passengers" as code to refer to

three kilograms of heroin, which the courier is delivering to ~EGRIN. MARTE tells NEGRIN that

one of the kilograms is darker in color than the other two and that NEGRI~ should check that one

to make sure it is good.

       5.      On November 11, 2018, at approximately 1:31 p.m., agents intercepted an outgoing

call from NEGRIN's phone, to 347-961-5016, utilized by CRUZ-MARTE. The following is an

excerpt of the conversation:

       CRUZ-MARTE:                   Talk to me, madman.

       NEGRIN:                       Did that guy talk to the kid?

       CR CZ-MARTE:                  Yes. [UI]

       NEGRIN:                       Okay.

       CRUZ-MARTE:                   Um-hin.

       NEGRIN:                       No, what he has to do is - -

       CRUZ-MARTE:                  Um-hm.

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        NEGRIN:                       What do you think if we go to the basement?

        CRUZ-MARTE:                   Yeah, better.

        NEGRIN:                       Like if Stalin [MARTE] leaves the SuV there and we head
                                      to the basement.

        CRUZ-MARTE:                   Okay, uh-huh.

       NEGRIN:                        Stalin can leave the car there and we can put the tickets in
                                      and then all he has to do is leave.

       CRUZ-MARTE:                    Exactly, no problem.

        NEGRIN:                       Check to see if there's parking in the basement, would you?

       CRUZ-MARTE:                    I'll walk over there and see, and I'll call you.

       NEGRIN:                        Alright.

       CRUZ-MARTE:                    Um-hm ...

       Based on my training and experience, and knowledge of this investigation, I believe, at the

time of this call, MARTE and CRCZ-MARTE have arrived in Philadelphia and, in the above

intercepted call, NEGRIN calls CRUZ-MARTE to coordinate where they will meet to transfer the

heroin from the courier to NEGRIN and the money from NEGRIN to the courier. In the call,

Negrin refers to MARTE by his first name, Stalin.

       6.      On November 11, 2018, at approximately 1:45 p.m., the FBI established

surveillance in the area of 3936 K Street, one of the suspected stash house locations used by the

NEGRIN DTO. During this surveillance, FBI Task Force Officer Joe Domico observed NEGRIN

driving a silver colored Mazda SCV, JVL-2423. ~EGRI1': parked in front of 3944 K Street, exited

the vehicle and entered the driver's seat of a black Mercedes that was double-parked in front of

3936 K Street. ~EGRI;',; then left the area in the Mercedes. A short time thereafter, a dark colored

Mazda with New York registration, operated by al lispanic male with short hair and a beard, pulled



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up in front of 3936 K Street. A Hispanic female exited 3936 K Street and entered the passenger

side of the dark colored Mazda. The female exited the Mazda several minutes later with a bag and

went back into 3936 K Street. At approximately 2:03 p.m., NEGRIN called CRUZ-MARTE and

told him to be on the lookout because he was entering the alley. He then told CRUZ-MARTE to

"bring that." Surveillance units observed NEGRIN drive into the rear alley behind the 3900 block

of K Street in the silver Mazda. A Hispanic male exited the rear of 3936 K Street with an object in

his hand and entered the passenger side of the Mazda. The Mazda then left the area. Approximately

ten minutes later, e-91 1 precision location information placed NEGRIN' s phone inside 1339

Robbins Street, Philadelphia, PA Based on my training and experience, and knowledge of this

investigation, I believe this was the delivery of the heroin that NEGRIN and MARTE had

discussed in intercepted calls earlier in the day.

       7.      On November 18, 2018, at approximately 7:04 p.m., agents intercepted an outgoing

call from NEG~'s phone, to 646-719-3072, utilized by MARTE. NEGRIN tells MARTE that

he is on his way to pick him up. E-911 precision location information revealed that at the time of

the call MARTE was inside 1339 Robbins Street. Shortly thereafter, e-911 precision location

information revealed that NEGRIN was in the vicinity of 1339 Robbins Street. Approximately

fifteen minutes later, e-911 precision location information revealed that both NEGRIN and

MARTE were in the vicinity of3936 K Street. Within thirty minutes of the pings at 3936 K Street,

e-911 precision location information placed NEGRIN back in the vicinity of his residence, 2024

Ripley Street, and MARTE back in the vicinity of 1339 Robbins Street.

       8.      On November 19,2018, at approximately 9:09 p.m., agents intercepted an outgoing

call from NEGRIN's phone, to 917-495-1427, utilized by Noel ARIAS. The following is an

excerpt of the conversation:



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NEGRIN:                 How--how many machines did you make dance today?

;',; oel ARIAS:         I--uh ... the--the 13.

NEGRIN:                 And ... how many came out today?

Noel ARIAS:             It was good today. Today it was 1,120. [clears throat] [noise
                        CONSPIRATOR 4 in the background]

NEGRIN:                 [OV] And yesterday?

Noel ARIAS:             The same.

NEGRIN:                 I see.

Noel ARIAS:             :V1-hm.

NEGRIN:                 I see.

Noel ARIAS:             There--because, these--these are coming out like [UI]--the
                        boxes have a little more.

NEGRI;',;:              Yes. No, but thaf s fine-

Noel ARIAS:             [OV] [UI] the other time--the other time one thousand ten--
                        one thousand one hundred ten, one thousand five were
                        coming out. And now one thousand one hundred twenty are
                        coming out.

NEGRIN:                 Oh, that's fine.

Noel ARIAS:             But [UI]-

NEGRIN:                 [OV] What was I going to say to you?

Noel ARIAS:             [OV] But [UI]-

NEGRIN:                 How--how many are made total?

Noel ARIAS:             [coughs] Mm ... no--no, what was made yesterday and today.

NEGRIN:                 One thou--one thousand ... two thous--[UI]-

Noel ARIAS:             [OV] [UI] thousand--two thousand [UI] •




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       NEGRIN:                        --and [UI]; there are two thousand three hundred; we could
                                      say that. Yes-

       Noel ARIAS:                    [OV] Yes, that's what we were seeing there, but ...

       NEGRIN:                        There are ... for example, today is Tues--today is Monday; he
                                      has the one for Tuesday. And Wednesday, Thursday, Friday
                                      and Saturday are there ...

       Noel ARIAS:                    M-hm.

       NEGRIN:                        [OV] And part of Sunday; but let's not count that part. Let's
                                      count Wednesday, Thursday, Friday, Saturday ... uh, there it
                                      is. Until Tue--Wednesday, Thursday, Friday and Saturday
                                      and whatever you guys do tomorrow, is Sunday and
                                      Monday. We have to work on Wednesday.

       Noel ARIAS:                    [coughs] There you have it.

       9.       Based on my training and experience, and knowledge ofthis investigation, I believe

NEGRIN calls :N'oel ARIAS, a bagger for his heroin distribution organization, to check on the

status of the bagging operation. Noel ARIAS tells NEGRI;'J how many bundles of heroin were

bagged up on Sunday and Monday. NEGRIN then tells Noel ARIAS that "he has the one for

Tuesday". Your affiant believes, based on other intercepted calls as well as NEGRIN and

MARTE's trip to 3936 K Street, that NEGRIN is telling Noel ARIAS that MARTE has the third

kilogram of heroin and that they should bag that up Tuesday and Wednesday. Your affiant further

believes that NEGRIN and MARTE drove down to get the third kilogram from K Street earlier

that evening.

       10.      Physical surveillance over the course of the investigation has demonstrated that

1339 Robbins Street is a residence that is not continuously occupied. It appears that the residence

only has individuals within it when they are present to prepare heroin for street sales. This has

been corroborated by electronic surveillance in that the residence is used only around the time that

the electronic surveillance reveals that a shipment of heroin has arrived in Philadelphia.

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       11.     On November 11, 2018, at approximately 4:00 p.m., a Philadelphia Police

Department marked patrol unit stopped NEGRIN's silver Mazda SUV for excessive tint. PPD

Officers identified NEGRIN as the driver and MARTE and CRUZ-MARTE as passengers in the

Mazda. After confirming the registration for NEGRIN's vehicle, PPD officers let the Mazda go.

The Mazda was then followed to 2024 Ripley Street, NEGRIN's residence, where all three men

exited the Mazda and entered the residence. Surveillance was terminated at this point.

       12.     On November 12, 2018, at approximately 11 :52 a.m., agents intercepted an

outgoing call NEGRIN's phone, to 646-719-3072, utilized by MARTE. The following is an

excerpt of the conversation:

       NEGRIN:                       Hey, is Lele there?

       MARTE:                        Yes.

       NEGRIN:                       Put Lele on the phone. [Pause]

       CRUZ-MARTE:                   What, faggot?

       NEGRIN:                       Lele!

       CRUZ-MARTE:                   Ch-huh.

       NEGRIN:                       Go knock on Dario's door.

       CRUZ-MARTE:                   He's not there.

       NEGRIN:                       He's not there? And the woman's not there?

       CRUZ-MARTE:                   IIuh-uh. They go out and they get back late.

       NEGRI~:                       And the wife, was she there?

       CRUZ-MARTE:                   Uh-huh. The woman gets up really early, and gets home
                                     later than he does, like at 6:30.

       NEGRIN:                       Alright

       CRUZ-MARTE:                   From her work. So you know.

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NEGRIN:                You know it.

CRUZ-MARTE:            What's going on?

NEGRIN:                I crune over here early, to check on the house and I'm parked,
                       looking at the area, you see.

CRUZ-MARTE:            Oh. [mumbles] and there's nothing going on?

NEGRIN:                I'm here since six in the morning.

CRUZ-MARTE:            Jesus mighty! [Laughs] [Coughs]

NEGRIN:                [OV] [UI] If you don't see any - - That car came out from a
                       different place, you know what I mean?

CRUZ-MARTE:            No, but just in case.

~'EGRIN:               But if I don't look out for you, who will?

CRUZ-MARTE:            That's correct.

NEGRIN:                You know what I mean.

CRUZ-MARTE:            U-h-huh.

NEGRIN:               Because you know, your turn around -- we go to the
                      supermarket, a turn here and a turn here a turn there and that
                      car came out of nowhere.

CRUZ-MARTE:            Yeah and they're there.

NEGRIN:                And that car wasn't, wasn't following us, either, you know?

CRUZ-MARTE:           No ... no, no.

NEGRIN:               [OV] But if there's food, if there's food that's already
                      prepared, what need is there for us to force ourselves to
                      work?

CRUZ-MARTE:            Exactly, uh-huh.

NEGRIN:               So what I'm thinking is that, you should leave and if ·
                      anything, you come back on Thursday.

CRUZ-MARTE:           l lowever you want.


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NEGRIN:                Because, because there's food left there. There's a thousand
                       left, right? There are two bags left?

CRUZ-MARTE:            Um-hm.

NEGRIN:                And there's like one thousand five hundred left up there.

CRUZ-MARTE:            Okay.

NEGRIN:                And that for Thursday for sure.

CRCZ-MARTE:            um-hm.

NEGRIN:                You understand, but ifs that you, you have to be careful.

CRUZ-MARTE:            Of course.

NEGRIN:                I know that the house is fine, you know what I mean, but
                       what do you say?

CRUZ-MARTE:            Um-hm. Okay.

NEGRIN:                Dude, there are cops crossing this street all the time - patrol
                       cars.

CRUZ-MARTE:            Are you in your car?

NEGRIN:                Yeah, I'm [UI].

CRUZ-MARTE:            Um-hm.

NEGRIN:                You know it.

CRUZ-MARTE:            [UI]

NEGRIN:                But you have to be careful.

CRUZ-MARTE:            Of course.

NEGRIN:                You know it1 because look, what, what are you going to do,
                       ask Stalin.

CR CZ-MARTE:           I don't know. [to CM 1] If we want, we can leave and come
                       back on Thursday.

MARTE:                 [UI]


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CRUZ-MARTE:            Whatever you say.

MARTE:                 [-UI] Saturday.

CRUZ-MARTE:            Huh?

NEGRIN:                Yeah, because you aren't going to do anything here.

CRUZ-MARTE:            What, what are you going to do, Stalin [UI], it's fine [UI].

MARTE:                 Coming to look for us.

~EGRI~:                Look, and JU, and I- -

CRUZ-MARTE:            [OV] [UI] So swing by here and pick us up, then.

NEGRI~:                Alright.

CRUZ-MARTE:            Um-hm.

MARTE:                 [in background] Or we call Pichon, if anything happens.

CRUZ-MARTE:            Or we call Pichon, if anything happens.

NEGRIN:                Alright, or if you want, call Pichon ...

CRUZ-MARTE:            Um-hm. Okay.

NEG~:                  And tell him and Maco and the guys that we are going to
                       work on Thursday

CRUZ-MARTE:            Okay.

NEGRIN:                You know.

CRUZ-MARTE:            [OV] [CI]

NEGRIN:                No, and what you have to tell him is that, no, that we had
                       gone to the supermarket and a patrol car stopped us.

CRUZ-MARTE:            I don't have to tell them anything.

MARTE:                 [OV] [CI] nothing.

NEGRIN:                [OV] But he's going to ask you.



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       CRUZ-MARTE:                   No, but I can say that the work hasn't, that the sand hasn't
                                     arrived, or something. We can make something up.

       NEGRIN:                       No, no, because he knows that I got something.

       CRUZ-MARTE:                   Okay. Um-hm ...

       NEGRIN:                       Because I'm not going to have someone under false pretexts.
                                     If someone doesn't want to work then they shouldn't work.

       CRUZ-MARTE:                   Of course. Um-hm.

       NEGRIN:                       Whoever doesn't want to work then they shouldn't work.
                                     Because I'm not going to have someone under false pretexts.

       CRUZ-MARTE:                   Of course.

       NEGRIN:                       That way things are clear.

       CRUZ-MARTE:                   Of course.

       NEGRIN:                       So as for Pichon, you go and tell him that, it was that we had
                                     gone to the supermarket and then for a little drive and that
                                     later on a car stopped us because of the tinted windows.

       CRUZ-MARTE:                   [OV] Yeah, faggot.

       NEGRIN:                       [OV] And [UI] of them.

       CRUZ-MARTE:                   Okay.

       NEGRIN:                      And since there's work already made, there's no need to
                                    work by force.

       Based on my training and experience, and knowledge of this investigation, I believe

NEGRIN calls MARTE believing that he is with CRUZ-MARTE. NEGRIN then asks MARTE to

put CRUZ-MARTE on the phone, which he does. NEGRIN tells CRUZ-MARTE that he has been

at the house since 6 a.m. Your affiant knows, based on e-911 precision location information that

NEGRIN is referring to his heroin stash/bagging house at 1339 Robbins Street in Philadelphia.

NEGRIN and CRUZ-MARTE discuss the police stop and how it was a little strange because the



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patrol car came out of nowhere. NEGRIN then tells CRUZ-MARTE that they have food so there

is no need to force themselves to work. NEGRIN then clarifies saying they have 1500 left up there

so they can wait until Thursday. Your affiant believes that NEGRIN and CRUZ-MARTE are trying

to figure out whether they should begin bagging the three kilograms of heroin that NEGRIN

received the day before. NEGRIN is nervous because of the car stop and tells CRUZ-MARTE that

they still have 1500 bundles left from the old product and that should last them until Thursday.

Cltimately, NEGRIN tells CRUZ-MARTE that he and MARTE should return to New York and

come back Thursday to bag up the three kilograms of heroin then.

        13.     Based on e-911 precision location information for both MARTE and CRUZ-

MARTE's phones, your affiant knows that MARTE and CRUZ-MARTE returned to New York

and then came back to Philadelphia on Thursday, November 15, 2018. Both MARTE and CRUZ-

MARTE were inside 1339 Robbins Street from the morning of November 16, 2018 to the evening

of November 20, 2018. From calls intercepted over NEGRIN's phone, your affiant knows that

MARTE and CRUZ-MARTE, as well as several other individuals, have been in 1339 Robbins

Street bagging up the three kilograms of heroin that NEGRIN obtained on November 11, 2018.

        14.     On November 20, 2018, at approximately 6:52 p.m., agents intercepted a call

between NEGRIN and CRUZ-MARTE. 4 During the call, NEGRIN tells CRUZ-MARTE that he

saw a black van with people inside and that CRUZ-MARTE and the others should leave everything

as is and exit out the front door and walk away. Shortly after this call, surveillance units observed

several men exit the front of 1339 Robbins Street and walk away from the residence. Your affiant

believes that NEGRIN was on his way over to 1339 Robbins Street when he observed a vehicle he




4
        This call was entirely in Spanish. An FBI linguist monitored this call and provided a
written summary of the call.
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suspected to be law enforcement. NEGRIN then called CRUZ-MARTE and instructed him to have

all the baggers leave 1339 Robbins Street and to leave the heroin behind.

        15.     On November 20, 2018, at approximately 9:12 p.m., agents intercepted a call

between NEGRIN and CRUZ-MARTE. NEGRIN asks where CRUZ-MARTE and the other

baggers are and whether or not they are headed to the basement. CRUZ-MARTE tells NEGRIN

they are on their way to the basement. NEGRIN then tells CRUZ-MARTE that he will meet them

at the basement and that he picked up the "little gray van ... the one here by the comer," so he could

leave what's there and see how he could take out what was done. Your affiant believes, based on

previously intercepted calls on ~EGRIN's line as well as physical surveillance, that when

NEGRIN and CR CZ-MARTE reference the basement they are referring to the basement apartment

at 3934 K Street, Philadelphia, PA. Your affiant also believes that NEGRIN tells CRUZ-MARTE

that he picked up the gray KIA Sol that was parked on the 1300 block of Stirling Street in

Philadelphia, one block away from 1339 Robbins Street. Just prior to this intercepted call,

surveillance units in the vicinity of 1339 Robbins Street observed NEGRIN's gray silver KIA Sol

pull out of a parking spot on Stirling Street and leave the area. Not long after the intercepted call,

surveillance units observed the gray KIA Sol parked behind 3934 K Street. Your affiant believes

that NEGRIN was worried about law enforcement presence in the area of 1339 Robbins Street and

as a result transported heroin and/or money in the gray KIA Sol to 3934 K Street. He also told

CRUZ-MARTE that he had to figure out a way to "take out what is done." Your affiant believes

that NEGRIN is referring to the heroin that was already bagged up inside of 1339 Robbins Street.

       16.      On November 20, 2018, at approximately 11:10 p.m., NEGRIN exited the rear

basement of 3934 K Street, got into the gray KIA Sol, and pulled off heading northbound.

Philadelphia Police Department marked units stopped NEGRIN as he left the area for investigative



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purposes. Immediately after Negrin was stopped for investigative purposes TFO Domico notified

Supervisory Special Agent '.\1illigan that Negrin was stopped. At that point FBI C3 executed the

search warrant at 1339 Robbins Street. Recovered from NEGRIN at that time were three cellular

telephones.

        17.     At approximately 11 :30 p.m., FBI Squad C3 and members of the Philadelphia

Police Department executed a local search warrant at 3936 K Street and a consent search at 3934

K Street. Agents obtained written consent to search 3934 K Street after executing the search

warrant at 3936 K Street. During the execution of the search warrant at 3936 K Street, agents

learned that MARTE, CRUZ-MARTE, Noel ARIAS and Christian ARIAS were in the basement

apartment of 3934 K Street. Written consent to search the basement apartment of 3934 K Street

was obtained from Yineida Reyes, the daughter of the owner of the residence. Reyes provided

your affiant with a key for the apartment.

        18.     Cpon entry into 1339 Robbins Street, agents discovered an empty apartment that

appeared to be a heroin bagging location. There was a long fold-up table in the middle of the room

with heroin and heroin packaging material on it. Recovered from on and around the table in 1339

Robbins Street was approximately two and a half kilograms of heroin, approximately half of which

was bagged up and packaged for sale. The evidence was collected and a sample of the heroin was

field tested and tested positive for the presence of heroin.

        19.     Upon entry into 3934 K Street, agents encountered four individuals, '.\1ARTE

CRUZ-'.\1ARTE, Noel ARIAS and Christian ARIAS, in the rear room of the basement apartment.

As agents instructed all four men to get down on the ground, Noel ARIAS ran to the very back of

the room and appeared to be attempting to wedge himself into a narrow opening in the wall. After

securing Noel ARIAS, agents discovered two brick like objects on the ground in the opening in



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the wall that Noel ARIAS had been attempting to wedge himself into. Agents recovered the two

brick like objects, which were later weighed and field tested and turned out to be two kilograms

offentanyl. In addition to the two kilograms of fentanyl, agents recovered four and a half kilograms

of heroin, two handguns hidden in the ceiling tiles in the apartment and multiple cellular

telephones. The heroin was later field tested and tested positive for heroin. MARTE, CRUZ-

MARTE, Noel ARIAS and Christian ARIAS were all arrested.

       20.      The Devices are currently in the lawful possession of the Federal Bureau of

Investigation. They came into the Federal Bureau of Investigation's possession in the following

the traffic stop and subsequent arrest of Roberto DeJesus NEGRIN on November 20, 2018, by the

Philadelphia Police Department. Following his arrest, law enforcement recovered each of the cell

phones from NEGRIN's person.

       21.      The Devices are currently in storage at Federal Bureau of Investigation,

Philadelphia Division, Evidence Control Room. In my training and experience, I know that the

Devices have been stored in a manner in which its contents are, to the extent material to this

investigation, in substantially the same state as they were when the Devices first came into the

possession of the Federal Bureau oflnvestigation

                                     TECHNICAL TERMS

       10.      Based on my training and experience, I use the following technical terms to

convey the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals. These telephones send signals through networks of

                transmitter/receivers, enabling communication with other wireless telephones or



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                traditional "land line" telephones. A wireless telephone usually contains a "call

                log," which records the telephone number, date, and time of calls made to and

                from the phone. In addition to enabling voice communications, wireless

                telephones offer a broad range of capabilities. These capabilities include: storing

                names and phone numbers in electronic "address books;" sending, receiving, and

                storing text messages and e-mail; taking, sending, receiving, and storing still

                photographs and moving video; storing and playing back audio files; storing

                dates, appointments, and other information on personal calendars; and accessing

                and downloading information from the Internet. Wireless telephones may also

                include global positioning system ("GPS") technology for determining the

                location of the device.

       11.      Based on my training, experience, and research, and from consulting the

manufacturer's advertisements and product technical specifications available online at

https://www.samsung.com. I know that these Devices have capabilities that allow them to serve

as a wireless telephone, digital camera, portable media player, GPS navigation device, and PDA.

In my training and experience, examining data stored on devices of this type can uncover, among

other things, evidence that reveals or suggests who possessed or used those devices.

                  ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       12.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period ohime on those devices. This information can

sometimes be recovered with forensics tools.




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       13.       Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Devices were used, the purpose of its use, who used it, and when. There is probab~e cause to

believe that this forensic electronic evidence might be on these Devices because:

             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).

             b. Forensic evidence on a device can also indicate who has used or controlled the

                device. This "user attribution" evidence is analogous to the search for "indicia of

                occupancy" while executing a search warrant at a residence.

             c. A person with appropriate familiarity with how an electronic device works may,

                after examining this forensic evidence in its proper context, be able to draw

                conclusions about how electronic devices were used, the purpose of their use, who

                used them, and when.

             d. The process of identifying the exact electronically stored information on a storage

                medium that are necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review

                team and passed along to investigators. Whether data stored on a computer is

                evidence may depend on other information stored on the computer and the

                application of knowledge about how a computer behaves. Therefore, contextual

                information necessary to understand other evidence also falls within the scope of

                the warrant.



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              e. Further, in finding evidence of how a device was used, the purpose of its use, who

                 used it, and when, sometimes it is necessary to establish that a particular thing is

                 not present on a storage medium.

        14.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the devices

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant.

        15.      Searching for the evidence described in Attachment B may require a range of data

analysis techniques. In some cases, agents and computer analysts may be able to conduct

carefully targeted searches that can locate evidence without requiring a time-consuming manual

search through unrelated materials that may be commingled with criminal evidence. In other

cases, however; such techniques may not yield the evidence described in the warrant. Criminals

can mislabel or hide information, encode communications to avoid using key words, attempt to

delete information to evade detection, or take other steps designed to frustrate law enforcement

searches for information. These steps may require agents and law enforcement or other analysts

with appropriate expertise to conduct more extensive searches, such as scanning storage areas

unrelated to things described in Attachment B, or perusing all stored information briefly to

determine whether it falls within the scope of the warrant. In light of these difficulties, the FBI

intends to use whatever data analysis techniques appear necessary to locate and retrieve the

evidence described in Attachment B.




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        16.      Manner of execution. Because this warrant seeks only permission to examine

devices already in law enforcement's possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.

                                          CONCLUSION

        17.      Based on my training and, I know that individuals involved in drug trafficking

often maintain more than one phone or more than one SIM card device, in order to have multiple

avenues to facilitate drug trafficking activities, and in an attempt to avoid detection by law

enforcement. I am aware that individuals involved in drug trafficking and often times utilize

pre-paid cellular telephones which do not maintain specific subscriber information, and/or use

phones subscribed to in the name of third person, in order to mask their direct linkage to

telephones utilized in furtherance of drug trafficking activities. Further, those involved in drug

trafficking often change SIM cards in order to make it difficult for law enforcement to determine

their records. Based on my training and experience, I know that individuals involved in drug

trafficking also frequently switch telephone numbers and/or phones. Despite the constant

switching of active telephone numbers, drug traffickers often keep old phones.

       18.      Based on my training and experience, I know that drug traffickers commonly

utilize their cellular telephones to communicate with co-conspirators to facilitate, plan, and

execute their drug transactions. For example, I know that drug traffickers often store contacts

lists, address books, calendars, photographs, videos, and audio files, text messages, call logs, and

voice mails in their electronic devices, such as cellular telephones, to be used in furtherance of

their drug trafficking activities. Here, in this case, I know that NEGRIN used various cellular

telephones to coi:nmunicate with co-conspirators to facilitate, plan, and execute drug transactions.



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         19.      Specifically, I know that those involved in drug trafficking communicate with

associates using cellular telephones to make telephone calls. If they are unable to reach the party

called, they frequently leave voice mail messages. I am aware that Apple-based and Android-

based phones download voice mail messages and store them on the phone itself so that there is

no need for the user to call in to a number at a remote location and listen to the message. In

addition, I know those involved in drug trafficking communicate with associates using cellular

telephones and tablets to send e-mails and text messages and communicate via social media

networking sites. By analyzing call and text communications, I may be able to determine the

identity of co-conspirators and associated telephone numbers, as well as if there were

communications between associates during the commission of the crimes.

        20.       Furthermore, cellular telephones also contain address books with names,

addresses, photographs, and phone numbers of a person's regular contacts. I am aware that drug

traffickers frequently list drug associates in directories, often by nickname, to avoid detection by

others. Such directories as the ones likely contained in the seized cellular telephones, are one of

the few ways to verify the numbers (i.e., telephones, pagers, etc.) being used by specific

traffickers.

        21.       In addition, I know that those involved with drug trafficking often take

photographs or make videos of themselves and their co-conspirators and retain them on their

electronic devices such as cellular telephones. This evidence would show associations between

accomplices, i.e. photographs of accomplices and/or individuals common to co-conspirators. I

am also aware that drug traffickers often take photographs or make videos of drugs and drug

proceeds with their cellular telephones and tablets. Based on my training and experience, those




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who commit these crimes often store these items on their phones in order to show to associates,

and/or to upload to social media.

        22.      Furthermore, based on my training and experience and the training and experience

of other agents, I know that drug traffickers often use a cellular phone's Internet browser for web

browsing activity related to their drug trafficking activities. Specifically, drug traffickers may

use an Internet search engine to explore where banks or mail delivery services are located, or

may use the Internet to make reservations for drug-related travel. In addition, I know that drug

traffickers also use their cellular telephone's Internet browser to update their social networking

sites in order to communicate with co-conspirators, and to display drugs and drug proceeds or to

post photographs of locations where they have traveled in furtherance of their drug trafficking

activities.

        23.      In addition, drug traffickers sometimes use cellular telephones as navigation

devices, obtaining maps and directions to various locations in furtherance of their drug

trafficking activities. These electronic devices may also contain GPS navigation capabilities and

related stored information that could identify where these devices were located.

        24.     Furthermore, based on my training and experience, forensic evidence recovered

from the review of a cellular telephone can also assist in establishing the identity of the user of

the device, how the device was used, the purpose of its use, and when it was used. In particular,

I am aware that cellular telephones are all identifiable by unique numbers on each phone,

including: serial numbers, international mobile equipment identification numbers (IMEi) and/or

electronic serial numbers (ESN). The search of each phone helps determine the telephone

number assigned to each device, thus facilitating the identification of the phone as being used by




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members of the conspiracy. In addition, I am aware that by using forensic tools,

information/data that users have deleted may still be able to be recovered from the device.

       25.     I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Devices described in Attachment A to seek the items

described in Attachment B.

                                                  Respectfully submitted,




                                                      ~11~
                                                  __..,.__~---
                                                  Anthony J. 11 di
                                                  Special Agent
                                                                            ----


                                                  Federal Bureau of Investigation




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                                      ATTACHME~T A

       The properties to be searched are a SAMSUNG GALAXY NOTE 9, INTERNATIONAL

MOBILE EQUIPMENT IDENTITY (IMEi) 356568090054491; SAMSUNG GALAXY S8,

IMEi 355987080841710; SAMSUNG GALAXY S9, IMEi 354824090452520, hereinafter the

"Devices." The Devices are currently located at the Federal Bureau of Investigation,

Philadelphia Division, Evidence Control Room.

       This warrant authorizes the forensic examination of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.
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                                          ATTACHMENT B

       1.        All records on the Devices described in Attachment A that relate to violations of

Title 21, United States Code, Sections 84l(a)(l), 843(b), and 846 and involve Christian De Aza

ARIAS, Noel DE AZA ARIAS, Francisco CRUZ, and Stalin De Jesus MARTE including:

            a. lists of customers and related identifying information, including contact phone

                 numbers and email addresses;

            b. types, amounts, and prices of drugs trafficked as well as dates, places, and

                 amounts of specific transactions;

            c. any information related to sources of drugs (including names, addresses, phone

                 numbers, or any other identifying information);

            d. any information related to the methods of trafficking in narcotics;

            e. photographs of associates, co-conspirators, and other evidence of drug trafficking;

            f.   any information recording domestic and international schedule or travel;

            g.   any and all information related to credit card bills, account information, and other

                 financial records, including but not limited to, accounts receivable, accounts

                 payable, general ledgers, cash disbursement ledger, check register, employment

                 records, and correspondence;

            h. any and all information related to identification records, including but not limited

                 to applications for birth certificates, state identification cards, social security

                 cards, and driver's licenses;

            1.   any and all banking information, including but not limited to monthly savings and

                 checking statements, canceled checks and banking communications, deposit

                 tickets, withdrawal receipts, certificates of deposits, pass-books, money drafts,
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                 money orders (blank or endorsed), check cashing logs, wire transfer logs,

                 cashier's checks, bank checks, money orders, safe deposit boxes, money wrappers

                 and wire transfers;

            J.   any and all information relating in any way to the possession, sale, purchase,

                 transfer, and.Ior storage of any and all tangible or intangible assets, including but

                 not limited to vehicles, real estate, and jewelry, regardless of the identity of the

                 person(s) involved; and

            k. stored electronic information and communications, including but not limited to,

                 telephone or address directory entries consisting of names, addresses and

                 telephone numbers, schedule entries, photographs, audio, and video. Evidence of

                 user attribution showing who used or owned the devices at the time the things

                 described in this warrant were created, edited, or deleted. such as logs,

                 phonebooks, saved usemames and passwords, documents, and browsing history.

       2.        Evidence of user attribution showing who used or owned the Devices at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usemames and passwords, documents, and browsing history;

       As used above, the terms "records" and "information" include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




                                                    2
